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               UNITED STATES DISTRICT COURT

               SOUTHERN DISTRICT OF GEORGIA

                        SAVANNAH DIVISION
UNITED STATES OF AMERICA           )
                                   )
v.                                 )           CR417-050
                                   )
JOSHUA SCOTT AND                   )
VICTOR NATSON                      )

                                 ORDER

      The United States has moved the Court for an Order finding that

certain evidence it proposes to introduce at the upcoming trial in this

matter is self-authenticating under Fed. R. Evid. 902. Doc. 161. The

Government represents that the required certifications and notices were

filed in late April and no objections have been filed. See id. at 1 (citing

Docs. 154, 155 & 160 (filed, respectively, on April 25, 26, and 30, 2018)).

      The normal schedule for defendants to file their opposition to any

or all of the requests cannot accommodate the scheduled trial date of

May 14, 2018.     See S.D. Ga. L. Crim. R. 12.1 (responses to motions

generally must be filed within 14 days).      Accordingly, the Court will

impose the following deadlines: defendants are DIRECTED to file a

notice indicating whether or not they oppose the Government’s requests

no later than 5:00 p.m. EDT on Monday, May 7, 2018. If they oppose,
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and notice their opposition as required, they must file any brief in

opposition by no later than 5:00 p.m. EDT on Wednesday, May 9, 2018.

Failure to timely file either the notice or opposition brief shall indicate

that defendants do not oppose the Government’s motion.

     SO ORDERED, this 4th day of May, 2018.




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